Case: 1:17-Cv-08102 Document #: 5 Filed: 01/09/18 Page 1 of 1 Page|D #:28

 

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Adam Tracy, 6287552 (888) 611~7716
The Tracy Firm, Ltd.

2100 Manchester Road, Suite 615
Wheaton, ll_ 60187 fm m cr we m

ATTQRNEY FC»R panel Pla infiff NOll 6

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United States Distn'ct Court, Northern f)istrlct of llllnols

 

 

 

 

 

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Flava \/\/0rl<s4 lnc.

 

 

DEFENmNT
Blacl< Rayne Productlons, lnc. XLRS Media Group , et al.
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NON SERVlCE REPORT 20170\/03102

 

 

 

 

 

 

l am and was on the dates herein mentloned a citizen of the Unlted States over 18 years of age and not a pa ny to ttil 5 action and l recai\.wd
copies of the following

Complaint, E)<hibits A, Exhiblts B, Summons

Atter due search, careful inquiry and diligent attempts at the following address(es), l have been unable to effect service of said ptocess cn:
XLR8 Medla Group, l.LC
(i)Unl<nown: 160 Clalrmont Ave, \ Deoatur, GA 30030

Pro<>ess is being returned without service for the following reason($):

On 1219/2017 12:52:00 PM at address (l) above. Not Found. Party to Sen/e ls unknown at this location

Fee for Service: $ 169.95
l declare under penalty of perjury under the laws of the United States ot

 

 

Not a registered California process server. Amen`ca that the foregoing is true and correct

12/19/2017

Frank Johnson <

One Lega! ~ 194'M8n'n Signature:

504 Redwood Btvd #223 Fl"a k J hnSO!\

Novato, CA 94947

415-491-0606 Ol.;tl 11565728

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